                   Case: 25-1588
                   UNITED  STATES Document:
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                                            APPEALS  1   Date
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                                                              THIRD 04/11/2025
                                                                      CIRCUIT

                                                   No. 24-8047

                       ATLAS DATA PRIVACY CORPORATION, et al.   vs. US DATA CORPORATION, et al.

                                              ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 US DATA CORPORATION, et al.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)              ✔ Appellant(s)
                                        ____                               ____ Intervenor(s)

         ____ Respondent(s)             ____ Appellee(s)                   ____ Amicus Curiae

(Type or Print) Counsel’s Name Kelly  M. Purcaro
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                                              ____        ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Kelly M. Purcaro

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REV. 10/20/2020
